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                                                                        USDC SDNY
UNITED STATES DISTRICT COURT                                            DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                           ELECTRONICALLY FILED
                                                                        DOC #:
 DARWIN COLUMNA,                                                        DATE FILED: 10/16/2020
                            Plaintiff,
                                                                1:19-cv-03801 (MKV)
                     -against-
                                                                     ORDER
 CITY OF NEW YORK, et al.,

                            Defendants.

MARY KAY VYSKOCIL, United States District Judge:

       The Court held a Show Cause hearing on October 16, 2020. This Order memorializes the

Court’s rulings on the record at the conference.

       IT IS HEREBY ORDERED that the deadline to complete discovery is extended to

November 30 ,2020. All discovery, including depositions, must be completed by that date.

There will be no further extensions of the discovery cut-off.

       IT IS FURTHER ORDERED that Plaintiff must respond to Defendants’ discovery

demands on or before November 2, 2020.

       IT IS FURTHER ORDERED that in the event either Party anticipates filing a motion for

summary judgment, the Party must submit a pre-motion letter to the Court on or before

December 14, 2020.




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      FAILURE TO COMPLY WITH THIS ORDER, PRIOR ORDERS OF THE

COURT, AND WITH A PARTY’S DISCOVERY OBLIGATIONS MAY RESULT IN

SANCTIONS, POTENTIALLY INCLUDING MONETARY SANCTIONS, PRECLUSION

OF EVIDENCE OR DEFENSES, OR DISMISSAL OF THE PLAINTIFF’S COMPLAINT

OR DEFENDANT’S ANSWER.

      The Court will mail a copy of this Order to Plaintiff.

SO ORDERED.
                                                    _________________________________
Date: October 16, 2020                              MARY KAY VYSKOCIL
      New York, NY                                  United States District Judge




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